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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:23-cv-02563-JLK

ROCKY MOUNTAIN GUN OWNERS, et al.
    Plaintiffs,

v.

JARED S. POLIS, in his official capacity as Governor of the State of Colorado,
     Defendant.

     THE GOVERNOR’S UNOPPOSED MOTION FOR A MODIFICATION OF THE
                     SCHEDULING ORDER [DOC. 44]

        Defendant Jared S. Polis, in his official capacity as Governor of the State of Colorado, by

and through undersigned counsel, respectfully moves this Court for a three-month extension of

the discovery deadline from November 21, 2024, to February 21, 2025.

     D.C.COLO.LCivR 7.1(a) certificate of conferral: Undersigned counsel certifies that he

conferred with Plaintiff regarding the relief sought in this motion. Plaintiff does not oppose the

relief requested.

     1. As good cause, Defendant provides as follows:

     2. The current discovery deadline cutoff is November 21, 2024. (Doc. 44, p 4, ¶ c.)

     3. At the time of the scheduling order, Defendant was represented by two attorneys at the

        Department of Law: Michael T. Kotlarczyk and Matthew J. Worthington. In the past five

        weeks, both Mr. Kotlarczyk and Mr. Worthington left the Colorado Attorney General’s

        Office and withdrew as counsel of record in this case.

     4. Undersigned counsel Buckley and undersigned counsel Michaels entered their

        appearances less than a month ago. Since then, undersigned counsel have dutifully and
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      rapidly been coming up to speed on the case, including reviewing the case’s pleadings

      and expert reports and responding to Plaintiff’s interrogatories (on September 30, 2024)

      and requests for admissions (on October 11, 2024).

   5. However, significant additional discovery work remains, including scheduling

      depositions for Plaintiffs—both Ms. Garcia and a 30(b)(6) designee of the Rocky

      Mountain Gun Owners group—as well as for both defense and plaintiff experts. As a

      result of the departure of Mr. Kotlarczyk and Mr. Worthington, the previously proposed

      deposition schedule became infeasible. Undersigned counsel is coordinating with the

      defense experts and will confirm dates with Plaintiff in due course. But with the holidays

      upcoming, as well as the end of the academic term, undersigned counsel anticipate

      additional scheduling conflicts.

   6. Additionally, undersigned counsel Buckley and Michaels have significant pressing legal

      responsibilities with respect to the 2024 General Election, including but not limited to

      representing the Colorado Secretary of State’s interests in court and in furtherance of

      ensuring election security.

   7. Undersigned counsel Buckley and Michaels also have other litigation and appellate

      responsibilities, including filing briefs in this Court in Drexler v. Weiser, et al., Civil

      Action No. 1:21-cv-00805-DDD-KAS (an 8,000-word Response filed October 21, 2024,

      and a separate response in opposition due October 28, 2024); in the Colorado Supreme

      Court in In re People v. Silva-Jaquez, 2024SA234 (filed October 10, 2024), In re People

      v. Beverly, 2024SA258 (due October 25, 2024), and Brubaker v. Colorado Sun,

      2023SC927 (due October 28, 2024); and in the Colorado Court of Appeals in Colorado


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       Livestock Association v. Polis, et al., 2024CA1153 (due November 15, 2024), and People

       v. Roedema, 2024CA0303 (due January 31, 2025). Undersigned counsel Michaels also

       has oral argument in the Colorado Court of Appeals in Heartland Biogas, LLC. v.

       Colorado Department of Public Health and Environment & Weld County Board of

       County Commissioners, 2023CA993, on December 3, 2024. Undersigned counsel

       Buckley has preexisting responsibilities representing the Attorney General and Governor

       in Faustin v. Polis, et al., Civil Action No. 1:23-cv-01376-SKC-NRN (D. Colo.), in

       which five depositions are set for late October through mid-November and discovery

       ends in late November.

   8. In addition to the discovery deadline, the current scheduling order provides that

       dispositive motions are due to this Court by January 17, 2025. (Doc. 44, p 4, ¶ d.)

       Defendant requests that that deadline also be extended by three months, to April 17,

       2025, to give all parties and counsel appropriate time to review and utilize all discovery.

   9. Neither party will be prejudiced by a three-month extension for the discovery deadline or

       the dispositive motions deadline.

WHEREFORE, Defendant respectfully requests the Court’s grants the three-month scheduling

modifications discussed in this motion.




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      Respectfully submitted this 22nd day of October, 2024.

                                   PHILIP J. WEISER

                                   Attorney General

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